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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
MICI-IAEL _A. RIVERA,
Plaintiff,
v. CiV. No. 15-1093-LPS

WILMINGTON POLICE DEPARTMENT, :
et al., :

Defendants.

 

Michael A. Rivera, Howard R. Young Correctional Insu`tut`lon, W`ilmington, Delaware, Pro Se
Pla_intiff.

MEMORANDUM OPINION

September 26, 2016
Wi]mjngton, Delaware

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STAR , U.S. Disi_ric ]udge:
I. INTRODUCTION

Plaintiff Nlichael A. Rivera (“Plaintiff”), Eled this action pursuant to 42 U.S.C. § 1983
alleging violations of his constitutional rightsl (D.l. 2) Plainl;iff is incarcerated at the Howard R.
Young Correct:ional Institution i_n Wilmington, Delaware. l-le appears pro tie and has been granted
leave to proceed z`):fom!apa!¢eni.t (D.I. 5) Plaintiff has filed a request for counsel (D.I. 4), and he
recently E.le a motion to amend (D.l. 14). The Court proceeds to review and screen the complaint
pursuant to 28 U.S.C. § 1915(e)(2) and § 19]5A(a).

II. BACKGROUND

On Novernber 27, 2013, unnamed Wilmington Police Departrnent Officers requested that
Plaintiff drive to Fourth and jackson Streets in Wilmington regarding an alleged altercation \vith
Daniell Mead (“Mead”).2 Plaini:iff refused and called the house sergeant Plaintiff informed the
house sergeant that he had done nothing Wrong and that the vehicles the officers requested were
ofhcially signed over to him.

Police officers arrived at Plai.ntiff’ s residence, and Plaintiff showed them the titles to the
vehicles Plaintiff Was arrested for unauthorized use of a vehicle Without consent of the owner and
offensive touching Plai_ntiff posted bond and \vas given pretrial supervision Two Weeks later,
Plai.ntiff was arrested, again for theft and unauthorized use of a vehicle without the consent of the

O\VI]Cr.

 

1Pursuant to 42 U.S.C. § 1983, a plaintiff must allege that some person has deprived him of a
federal right, and that the person \vho caused the deprivation acted under color of state la\v. 563
115/aff :). Az‘]ez`i:_r, 487 U.S. 42, 48 (1988).

2Plaintiff states that, at the time, there Was a no~contact order against Mead that \vas ignored

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On April 17, 2014, Plainn'ff showed the prosecutor valid titles to the vehicles and all charges
were dismissed Plaintiff alleges that he was subject to pretrial supervision, weekly visits, and a 7
p.m. curfew for offenses he did not commit. Plaintiff alleges that he is “positive that the officers,
even after being informed of the titles and lack of any corroborating facts,” violated his rights

Plaintiff seeks declaratory relief, as well as compensatory and punitive damages
III. LEGA.L STANDARDS

A federal court may properly dismiss an action sua _tj)ou!e under the screening provisions of
28 U.S.C. § 1915(€)(2)(}3) and § 1915A(b) if “the action is frivolous or malicious, fails to state a claim
upon which relief may be granted, or seeks monetary relief from a defendant who is immune from
such relief.” Ba// r). Famz;g/io, 726 F.3d 448, 452 (3d Ci.r. 2013); rec afro 28 U.S.C. § 1915(e)(2) (z`njbmza
paz¢m`.r actions); 28 U.S.C. § 1915A (acu'ons in which prisoner seeks redress from a governmental
defendant); 42 U.S.C. § 1997e (prisoner actions brought with respect to prison conditions). The
Court must accept all factual allegations in a complaint as true and take them in the light most
favorable to a pro se plaintiff J`ee Pbi/l§bs 1). Co¢m@l qu/leg/)e@/, 515 F.3d 224, 229 (3d Cir. 2008);
En'ck.mn z). Pardm, 551 U.S. 89, 93 (2007). Because Plaintiff proceeds pro re, his pleading is liberally
construed and his complaint, “however inartfully pleaded, must be held to less stringent standards
than formal pleadings drafted by lawyers.” Elz'ck.ron, 551 U.S. at 94 (citan`ons omitted).

An action is frivolous if it “lacks an arguable basis either in law or in fact.” Nez't{/ee v.
W'z`/lz`ams, 490 U.S. 319, 325 (1989). Under 28 U.S.C. § 1915(e)(2)(B)(i) and § 1915A(b)(1), a court
may dismiss a complaint as frivolous if it is “based on an indisputably meritless legal theory” or a
“clearly baseless” or “fantastic or delusional” factual scenario. Neit{ke, 490 at 327-28; see a/.ro W'z`£;orz

v. Rackmz'l/, 878 F.2d 772, 774 (3d Ci.r. 1989); Deul‘.tch a United Staz‘e.r, 67 F.?)d 1080, 1091-92 (3d

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Cir. 1995) (holding frivolous a suit alleging that prison officials took an inmate’s pen and refused to
give it back).

The legal standard for dismissing a complaint for failure to state a claim pursuant to
§ 1915(e)(2)(B)(ii) and § 1915A(b) (1) is identical to the legal standard used when deciding Rule
12(b)(6) motions. .S`ee Toz¢r.rc/)er a Mch///ougb, 184 F.3d 236, 240 (3d Cir. 1999) (applying Fed. R. Civ.
P. 12(b) (6) standard to dismissal for failure to state claim under § 1915(€)(2)(B)). However, before
dismissing a complaint or claims for failure to state a claim upon which relief may be granted
pursuant to the screening provisions of 28 U.S.C. §§ 1915 and 1915A, the Court must grant a
plaintiff leave to amend his complaint - unless amendment would be inequitable or futile. 5ee
Grqy.ton a quz)z`ew State Hoi;z>., 293 F.3d 103, 114 (3d Cir. 2002).

A complaint may be dismissed only if, accepting the well-pleaded allegations in the
complaint as true and viewing them in the light most favorable to the plaintiff, a court concludes
that those allegations “could not raise a claim of entitlement to relief.” Be//At/. Corj). 1). Twomb/ , 550
U.S. 544, 558 (2007). Though “detailed factual allegations” are not required, a complaint must do
more than simply provide “labels and conclusions” or “a formulaic recitation of the elements of a
cause of action.” Dal)z'.r 1). Abington Mem’/ Ho.p')., 765 F.3d 236, 241 (3d Ci.r. 2014) (internal quotation
marks omitted). ln addition, a complaint must contain sufficient factual matter, accepted as true, to
state a claim to relief that is plausible on its face. See Wz'//z'ams 1). BA.S`F Cata[yst: LLC, 765 F.3d 306,
315 (3d Cir. 2014) (citing A.t/icmji‘ a Iqba/, 556 U.S. 662, 678 (2009) and Tu/omb/ , 550 U.S. at 570).
Finally, a plaintiff must plead facts sufficient to show that a claim has substantive plausibility. See
johmon v. Cz`§/ of.S`/)e/b], _U.S._, 135 S.Ct. 346, 347 (2014). A complaint may not dismissed for

imperfect statements of the legal theory supporting the claim asserted. See id.

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Under the pleading regime established by Twombb/ and Iqba/, a court reviewing the
sufficiency of a complaint must take three steps: (1) take note of the elements the plaintiff must
plead to state a claim; (2) identify allegations that, because they are no more than conclusions, are
not entitled to the assumption of truth; and (3) when there are well-pleaded factual allegations, the
court should assume their veracity and then determine whether they plausibly give rise to an
entitlement to relief. .S`ee Comzel@) a Lane Court Corp., 809 F.3d 780, 787 (3d Cir. 2016). Elements are
sufficiently alleged when the facts in the complaint “show” that the plaintiff is entitled to relief. .S`ee
Iqba/, 556 U.S. at 679 (citing Fed. R. Civ. P. 8(a)(2)). Deciding whether a claim is plausible will be a
“context-specific task that requires the reviewing court to draw on its judicial experience and
common sense.” Id.

IV. DISCUSSION

The complaint is deficiently pled. It is not clear if Plaintiff considers “\X/ilmington Police
Departtnent, City of Wilmington, Ofiicers Does” as one defendant or three defendants If “Officet
Does” is considered as a defendant, dismissal is appropriate as there are no allegations directed to
any Doe defendant as are necessary to state a claim under § 1983. .S`ee Evam'/io v. Fz'.r/)er, 423 F.3d 347,
353 (3d Cir. 2005) (civil rights complaint must state conduct, time, place, and persons responsible
for alleged civil rights violations). In addition, Plaintist motion to amend does not clarify the
defendants by identifying potential Doe defendants, for example, as Doe 1 or Doe 2, and, therefore,
his motion will be denied without prejudice

Further, the Court notes that the Wilmington Police Department is a department of the City
of Wilmington and cannot be sued as a separate juridical entity. J`ee Wa:/Jz`ngion z). Wi/mz`ngz‘on Police

Dtyb ’z‘, 1995 WL 654158, at *3 (Del. Super. Sept. 18, 1995). However, because Plaintiff proceeds pro

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ie, the Court liberally construes the complaint as brought against the City of Wilmington, noting that
Defendant is named, in part, as “Wil.t:nington Police Depart:ment, City of Wilmington.”

A municipality may only be held liable under § 1983 when the “execution of a government’s
policy or custom . . . inflicts the injury.” A)zdrew.t v. City ofPhi/adeébbz`a, 895 F.2d 1469, 1480 (3d Cir.
1990). While a government policy is established by a “decisionmaker possessing final authority,” a
custom arises from a “course of conduct . . . so permanent and well settled as to virtually constitute
law.” A)zdreu).t, 895 F.2d at 1480 (citing Moml/ a Dq>arm'ent of.l"oa`a/ .S`ervz'ce.r qu‘/)e Ci§) 0 New York, 436
U.S. 658 (1978)). Accordingly, a plaintiff seeking to recover from a municipality must: (1) identify
an allegedly unconstitutional policy or custom, (2) demonstrate that the municipality, through its
deliberate and culpable conduct, was the “moving force” behind the injury alleged; and
(3) demonstrate a direct causal link between the municipal action and the alleged deprivation of
federal rights. .S`ee Boara' of !/)e C§/. Comm’r.r 1). Broum, 520 U.S. 397, 404 (1997).

Plaintiff has not pled that the City of Wilmington was the “moving force” behind any
alleged constitutional violation. Absent any allegation that a custom or policy established by the City
of Wi]mington directly caused harm to Plaintiff, his § 1983 claim cannot stand. Therefore, the
complaint will be dismissed for failure to state a claim upon which relief may be granted pursuant to
28 U.S.C. § 1915(e)(2)(B)(i) and § 1915A(b)(1). I-lowever, since it appears plausible that Plaintiff
may be able to articulate a cognizable claim, he will be given an opportunity to amend his pleading
fee O’De// v. United State.r Gov’t, 256 F. App’X 444 (3d Cir. Dec. 6, 2007) (leave to amend'is proper
where plaintiffs claims do not appear “patently meritless and beyond all hope of redemption”).

V. REQUEST FOR COUNSEL
Plaintiff requests counsel on the grounds that he is unable to afford counsel, his

imprisonment greatly limits his ability to litigate, the issues are somewhat complex and require

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significant research and investigation, he has limited access to the law library, limited knowledge of
the law, a trial will likely involve conflicting testimony, counsel will better enable Plaintiff to present
evidence and cross-examine witnesses, and he struggles to obtain counsel (D.l. 4)

A pro re litigant proceeding infomzapazq>enk has no constitutional or statutory right to
representation by counsel.3 See Bngbnve// a Le/Jman, 637 F.3d 187, 192 (3d Cir. 2011); Tabrolz z). Grace,
6 F.3d 147, 153 (3d Cir. 1993). However, representation by counsel may be appropriate under
certain circumstances, after a finding that a plaintist claim has arguable merit in fact and law. .S`ee
Tabmn, 6 F.3d at 155.

After passing this threshold inquiry, the Court should consider a number of factors when
assessing a request for counsel, including: (1) the plaintist ability to present his or her own case;

(2) the difficulty of the particular legal issues; (3) the degree to which factual investigation will be
necessary and the ability of the plaintiff to pursue investigation; (4) the plaintist capacity to retain
counsel on his own behalf; (5) the extent to which a case is likely to turn on credibility
determinations; and (6) whether the case will require testimony from expert witnesses fee Tahro)z, 6
F.3d at 155-57; accord Par/mm z). ]0/21150)1, 126 F.3d 454, 457 (3d Cir. 1997); Mon¢gomeg! v. Pz`nc/)a/e, 294
F.?)d 492, 499 (3d Cir. 2002).

Assuming, solely for the purpose of deciding this motion, that Plaintiff’s claims have merit in
fact and law, several of the Tabron factors militate against granting his request for counsel, including
that, to date, Plaintiff’s filings indicate that he possesses the ability to adequately pursue his claims,
the claims are not complex, this case is in its very early stages, and the complaint is deficiently pled.

Upon consideration of the record, the Court is not persuaded that representation by an attorney is

 

3536 Ma//ard 1). Um`ted .S`tate.r Dz`.rz‘. Co/ln‘for t/)e .S`. Dz`.rz'. of I owa, 490 U.S. 296 (1989)
(§ 1915(d) (now § 1915(e) (1)) does not authorize federal court to require unwilling attorney to
represent indigent civil litigant, the operative word in statute being “request.”).

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warranted at this time. Therefore, the Court will deny the request for counsel (D.l. 4) The Court
can address the issue at a later date should counsel become necessary.
VI. CONCLUSION

For the above reasons, the Court will: (1) deny without prejudice to renew the request for
counsel (D.I. 4); (2) dismiss the complaint pursuant to 28 U.S.C.§ 1915(e)(2)(B)(ii) and § 1915A(b)(1);
(3) deny the motion to amend (`D.l. 14) without prejudice as it does not cure the pleading defects; and
(4) give Plaintiff leave to amend the complaint to cure his pleading defects.

An appropriate Order follows.

